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        UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF GEORGIA




 CASSANDRA JOHNSON-LANDRY                                          CASE No: 18-556971RC

 DEBTOR                                                                  CHAPTER 7




 S. GREGORY HAYS, TRUSTEE                                            CONTESTED MATTER

 OBJECTOR
                                                                                 fleein 0
                                                                                   tt 8alikro
                                                                                     a/14 coo:CY COW
 V.
                                                                                  Ofri n


 GEORGIA DEPARTMENT OF COMMUNITY HEALTH

 CLAIMANT



 OBJECTION TO TRUSTEE WITHDRAWAL OF OBJECTION TO CLAIM NO. 20-1 FILED BY DCH

                                            1

 Debtor received Trustee's Withdrawal of Objections on November 16, 2020 which was dated
 submitted to the USBRC on November 4, 2020 (DOC 322). The Withdrawal of Objection was
 based on submitted Response by Claimant (Doc No 314) filed on September 25, 2020. The
 Claimant filed a Proof of Claim of behalf of Department of Community Health (DCH) Claim No
 20-1. Trustee's Withdrawal was allegedly based on additional information provided the
 response allegedly at the hearing date of October 1, 2020.

                                            2

 On September 18, 2018 Claimant filed Claimed No 20-1 in the amount of $42, 634.37. Debtor
 objected to (DCH) submission of Ruling for Default Judgement. Debtor submitted the Objection
 for the Default Judgment on March 11, 2019 with ALL supporting documents.
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                                             3

 The Denial for requested Default Judgement was granted Without Prejudice on April 24, 2019.
 It appeared there was another opportunity to possibly reverse the Denial based on Documents
 submitted by the Attorney General's on behalf of (DCH).



                                             4

 Given there were no supporting documentation submitted with Claim No 20-1 submitted
 September 19, 2018 by the Attorney General's Office on behalf of DCH, Claimant was given the
 opportunity to submit supporting documents to support the (Claim). A printout of A/R was
 submitted as the Exhibit on February 21, 2019. The Initial Claim submitted by a Creditor should
 include supporting documents upon the initial submission in addition to current accurate
 information. The A/11 and Payer Number was partially removed via white out, There was not
 detailed printout of items submitted in addition, to missing dates and year, (EXHIBIT A)

                                             5

 On August 26, 2020 Chapter 7 Trustee requested the USBRCND to disallow Claim No 20-1in its
 entirety. The assigned Trustee allowed Claimant to submit supporting evidence MONTHS after
 the Initial claim was submitted which is a legitimate reason for objection pertaining to the
 Creditor Initial Claim and grounds for objection regarding the Withdrawal of Objection by the
 Chapter 7 Trustee by the Debtor. Alliance for Change through Treatment LLC, was abandoned
 by the Trustee prior to Trustee Withdrawal of Objection.

                                             6

 The Assistant Attorney General continues slanderous and false terms such as Fraudulent and
 Misrepresentation, when in fact the (DCH) has proven to provide the accurate depiction of such
 wording based on the unethical behaviors pertaining to the modification/deletion of testimony
 during Debtors Administrative Hearing due to the termination of Debtor's Mental Health
 Agency's Providers Medicaid Numbers.



                                             7

 The total legal process should have never taken place due to (DCH) premeditated plans to
 eliminate Debtor as a Medicaid Provider based on key incriminating evidence currently being
 held by Debtor, which would incriminate many officials and previous business partner who
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 abandoned the agency. Based on the modified transcripts the Debtor's Administrative Hearing
 was unjust and unlawfully ruled as a non-retaliation. The Debtor's previous Attorney Dorian
 Murry Esq. Validated the modification in his Post Summary Brief was also filed by Debtor of
 March 11, 2019. Civil Action No 2015-CV-269501 was filed on 12/22/2015 which is the
 assigned case number for the Lawsuit filed on behalf of Dorian Murry who was representing
 Alliance for Change through Treatment LLC. May also be a factor in the Chapter 7 Trustee's
 Withdrawal of Objection. According to the FC Superior Court System there is a Stay position.
 Attorney Murry withdrew from referenced case on November 2, 2017, which was The Debtors
 Birthday and one day after the death of the driver of the vehicle who hit the Debtor in May of
 2017 at no fault of her own. (EXHIBIT B)

                                          8

 The amount within the Lawsuit was 30 million dollars. twill continue to address this issue
 because the Debtor is aware of a high probability the 30 million dollars was taken by a select
 group in individuals involved with Debtors Administrative Hearing, Audits and more. In
 addition, the Debtor was provided with a verbal information by a witness with knowledge
 regarding this lawsuit Civil Action No 2015-CV-269501 and the missing money. Unfortunately,
 this individual who was shortly afterwards found deceased.

                                              9



 Claimant attempted to utilized portion of the Medicaid Manual without the identification of
 date and year of the Provider's Manual to support submitted DCH Claim etc. However, Debtor
 located the referenced manual which was dated October 1, 2020 which is not applicable to
 Debtor. Alliance for Change through Treatment is a Limited Liability Company, which is separate
 from Cassandra Johnson-Landry, Debtor, therefore during the operation of the agency all
 monies were paid to Alliance for Change through Treatment LIC. Cassandra Johnson-Landry,
 Debtor DOES NOT own DCH money for payback. There were audit findings which were
 appealed. Debtor submitted supporting documents including emails which were filed on March
 11. 2019 given directives to Providers regarding resubmission of NCCI Edits. (EXHIBIT C)

                                              10

 The amount of $42, 634.37 is not owed. The Claimant is fully aware of the illegal activity by
 (DCH) and the attempts by (DCH) Legal Counsel to settle with Debtor during the Administrative
 Hearing(s). Debtor is resubmitting supporting documents. If Debtor illegally resubmitted claims,
 (DCH) would not have provided proposed various settlement agreements which were also
 submitted in supporting documents prior.
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                                             11'

 Claimant also provided false explanation of claims, referring to them as Medicaid Adjustments
 and creates the illusion the Debtor habitually resubmitting claims, based on the above
 information regarding automobile accidents and more, it is very apparent Claimant attempts to
 present Debtor as fraudulent which has damaged her career and reputation. The last three
 Audits were facilitated by Auditors who were directed to ensure Debtor failed each audit in
 order to terminate the Letter of Agreement which was later discovered to be signed illegally. Ad
 Hoc Audit Protocols dates were altered for the purpose of auditing Debtor's agency (EXHIBIT D)



                                               12

 The Claimant refers to Part 1 Chapter 100 of the Georgia Medicaid Manual (Doc 314)
 September 25, 2020, Given the Debtor's has maintained all Manuals to include {Georgia
 Medicaid and Previous APS. Debtor compared the Policy and Procedures to previous manuals
 ranging from 2012 to current. Claimant in paragraph 8 does not refer to the year nor does she
 refer to which Manual as there are several for Medicaid Providers. Debtor cross referenced
 previous Manuals in possession and there have been extensive modifications, changes,
 eliminations with dates of revisions back to 2012. Many initial Policies and Procedures were not
 present in Georgia Medicaid Manuals pertaining to the Debtor.

                                          13

 It appears the A/R includes audit findings and NOT resubmission of claims, but as stated
 Providers were directed to resubmit NCCI Edits based on communication by DCH administration
 which was previously uploaded by Debtor. On November 3. 2016 communication was sent to
 DCH regarding the amount which was filled in by the DCH staff. I spoke to the HP staff regarding
 the amount allegedly owed and requested Proof of submission and explanation of the amount.
 Based on the previous communication from the DCH Administration, informing Providers if
 resubmission were not submitted timely the agency would be penalized. This information was
 also submitted. The HP staff informed the Debtor, inquiring on behalf of the agency there were
 no penalizations towards the agency. Furthermore, it's very apparent the Debtor is
 experiencing continued retaliation and is not liable for any such paybacks. Again, if the agency
 was responsible for Paybacks why did DCH attempt to submit settlement offers after the
 Administrative Hearing which would provide the Provider with a new Medicaid Number and no
 paybacks. Again, the Alliance for Change Letter of Agreement was illegal which explained why
 DCH wanted to provide Alliance for Change through Treatment with a new Medicaid Number.
 (EXHIBIT E).

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 As stated previously, Whitney Groff Esq, AAG is a conflict regarding Debtor's Bankruptcy Case.
 Evidence has been submitted regarding her previous employment with Aldrige Pita and McCalla
 Raymer Law firms. Both Law firms were assigned to my personal property which were
 abandoned by the Chapter 7 Trustee and Foreclosed on which has left both Debtor and spouse
 transient This individual has caused self -injury and harm to Debtor's Family. Her connection
 and role in a pre-planned agenda to assist in totally Bankrupting Debtor's Estate is obvious and
 has caused significant harm. Possible Ex Parte communication affecting Debtor's Case is a
 factor.

 Debtor requests the Court to Trustee Chapter 7 Withdrawal of Objection of Claim Number 20-1.



 17th Day of November 2020



           ‘27-)
 Cassandra Johns        and
 678.860.3621
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 UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF GEO GIA

                          CERTIFICATE OF SERVICE


 I CASSANDRA JOHNSON-LANDRY, ATTEST TO BEING OVER THE AGE OF 18
 YEARS. The current document OBJECTION TO TRUSTEE WITHDRAWAL OF
 OBJECTION TO CLAIM NO, 20-1 FILED BY DCH IS REQUESTED TO BE
 SUBMITTED TO ALL REGISTERED INDIVIDUALS ON Debtor's Bankruptcy Matti




 Submitted on
 17th Day of November20



 Cassandr
 678.860362
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                                EXHIBIT A
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               IN THE UNITED STATES BANKRUPTCY COURT                          , tRti
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                                                                                OF GEor,,,i1
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION                                2g1911Af? /1
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                                                                                  fliRktiafrIAS

CASSANDRA OHNSON-LANDRY *                        Chapter 7
Debtor                                           Case No. 18-55697-bre


GEORGIA DEPARTMENT OF                            Adv. NO 18-05340-he
COMMUNITY HEALTH
Plaintiff


V.

CASSANDRA JO        SON-LANDRY *
Defendant



           OBJECTION TO ENTRY OF DEFAULT JUDGEMENT

COMES NOW Cassandra Johnson-Landry, Debtor and Defendant regarding

Case No 118-556974re and Adversary Action 18-05340-Ire.




According to assigned counsel Department of Community Health filed an

Adversary Proceeding on December 17,2018 regarding the frivolous

allegations of overpayments by the Department of Community Health known

as, 'The Department".
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                                  2.

According to assigned counsel a Summons was issued on December 18 2018

which required a Motion to bellied within a30 day time frame. On December

20,2018 supposedly" documents were mailed via US POSTAL SERVICE

first class mail and NOT CERTIFIED with Return Receipt




The Defendant DID NOT receive stated documents on said date which

explains why the 'allegedly" mail documents were not answered.



                                  4.

Department of Community Health aka The Department" filed a request for

Entry of Default Given the Defendant did not receive said documents by law,

the dependent Due Process was not provided.



                                  5.

The Defendant was a Medicaid Provider and was instructed to resubmit

 UNPAID Medicaid claims as instructed by the DCH Commissioner for year

 identified Medicaid Providers throughout the state were sent emails

 regarding this process. The Defendant did NOT receive overpayments. You

                                                                               2
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do not receive overpayments when you never received the initial payments.

The State of Georgia was not reimbursing providers as required by federal

guidelines for services performed in conjunction with other services. This was

a tactic by the State of Georgia to reroute money for possible misuse. The

Overpayment was appealed during the stated year. Due to the number of

Medicaid Providers who was being penalized for following DIRECTIVES and

who also appealed, I did also. I met with a representative from Hewlett

Packard who briefed me on the process. This was after she informed me, she

was given directives by, then Commissioner Clyde Reese to me with providers

It appears the STATE and the DEPARTMENT utilized this process to obtain

needed money for federal pay back as required.



                                      6.

There was no overbilling of 42,634.37. The Department is continuing to

retaliate as directed. Due to my testimony against the state of Georgia for my

5 year old client and after the state uncovered both myself and spouse was

victim of Mortgage Fraud and more, the plan to remove ME

PERSONALLY" was created. The original transcripts from the agency's

Administrative Hearings were edited and statements made by State Staff were

 deleted, such as the confessions of two state employees identifying both the
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DIII1 and DIIS Commissioners providing directives to resolve my agency and

also holding after hour meetings via Google regarding my agency. Not to

mention I was hit two times AFTER MY agency was penalized 25,000.00

citing during an Ad Hoc Audit my charts were '2" minutes late and there was

no Internet access. The Auditors were informed of problems with o         internet

service PRIOR".



                                    7.

The additional payments were owed to the agency due to the NCCI edits all

provided were instructed to resubmit, due to being denied upon initial entry.

Due to the lack of training many providers were attempting to obtain

information from the Peach care Manuals however, the manuals were not

consistent for example the NCCI Edits were not noted in particular versions,

however reference to NCCI submissions were placed in. an updated manual

noted as a REVISION. How, could you revise an item when there was never

an initial policy or procedure? Not to mention this was a calculated task.



                                   8.

 The representing counsel for the "Department" is functioning in a HIGHLY

 conflictual relationship as it relates to all proceedMg for the above Defendant
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and Plaintiff. There are relationships with law firms which are currently

involved with identified cases in addition to affiliations with the United Stated

Bankruptcy Court of Northern Georgia. The counsel was strategically

assigned to referenced case in order to damage EVERY aspect ofthe plaintiffs

and defendant's career and life, in addition to both professional and personal

relationships.



                                   9.

Of course I would not receive stated items, with the exception of the item

connected to this response. This was planned and strategically planned I am

objecting to any and all consideration for proposed default Judgement



   1 Not receiving alleged documents/Motions etc.

   2 Representing Counsel Relationships with previous

      employment/internship with Law firms which are connected to this case

      such as Aldridge LLP, IVIcCalla Raymer and US BRC Northern District

      Chapter 13. Having access to information regarding the Debtor

      /Defendant is unethical causing alias view.

   3 No merit regarding the total amount stated as well as proof and clarity

      for alleged paybacks.
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   4. Continue retaliation against Debtor/Defendant in order to assist

      OTHERS to exhaust and damage both personal and business



   5. Ability to access inside information creating bias regarding current

      case.

   6. Facilitating harm to Debtor/Defendant Physically, Mentally and

      Emotionally.

   7 This HIGHLY unethical tactic serves as an additional catalyst to cover

      ALL wrongdoing by ALL involved state offices, state officials and to

      derail the previous lawsuit filed against the State Departments and

      Auditing Entities, due to the verifiable proof.

   (Exhibits supports the above objections were previously submitted under

   file Claim.



 ( Suibmitted


    assandra Jo
   P.O Box 1725
   Grayson, Georgia 30017
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                    CERTIFICATE OF SERVICE



I Cassandra Johnson-Landry currently submits Objectionth Proposed
Default Judgement. Sent via first Class Mail service via USPS. I am over the
age of 18 years. Submission of document:




Whitney Groff, Esq
Assistant Attorney General
40 Capital Square, SW
Atlanta, Georgia 30334



This day 11 th of March 2019




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            F      On' 41IP
  assandra Jo son-
P.0 Box 1725
Grayson, Georgia 30017
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       Case 8-55 97-1rc      Doc 1584 Piled 02/21/19 Entered 02/21/19 15:58:19       Desc
                                   Exhibit A & B Page 5 of 24




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                          11\1 THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

    IN RE:

    CASSANDRA JOHNSON LANDRY,                              Chapter 7
                                                    •      Case No. 18-55697-1re
                                  Debtor,           •      Judge Lisa Ritchey Craig

    GEORGIA DEPARTMENT OF
    COMMUNITY HEALTH,
                                                    •      Adv. No. 18-05340
                                  Plaintiff,
    V.

    CASSANDRA JOHNSON LANDRY,

                                  Defendant.

                     NOTICE OF VOLUNTARY DISIVHSSAL OF COIVIPLAINT
                                 WITHOUT PRESUDICE

              COMES NOW Plaintiff; the Georgia Department of Community Health, by and through

    counsel, Christopher M. Carr, Attorney General for the State of Georgia, and voluntarily

    dismisses its Complaint in the above-styled adversary proceedings without prejudice, pursuant to

    Fed. R. Bankr. P. 7041 and Fed. R. Civ. P 41(a)(1)(A)(1).

                 This 91h day of September, 2019.

                                                    Respectfully submitted,

                                                    CHRISTOPHER M. CARR               112505
                                                    Attorney General

                                                    W. WRIGHT BANKS, JR,          036156
                                                    Deputy Attorney General

                                                    JULIE ADAMS JACOBS             003595
                                                    Senior Assistant Attorney General

                                                    /s/ Whitney Groff
                                                    WHITNEY GROFF                 738079
                                                    Assistant Attorney General
   41106536
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                              IN THE UNITE DI STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

    IN RE:

    CASSANDRA JOHNSON LANDRY.                             Chapter 7
                                                   •      Case No, 18-55697-1re
                                      Debtor,      •      Judge Lisa Ritchey Craig

    GEORGIA DEPARTMENT OF
    COMMUNITY HEALTH,
                                                   •      Adv. No. 1 -0       40
                                      Nal
    V.

    CASSANDRA JOHNSON LANDRY,

                                      Defendant.

                                 WITHDRAWAL OF MOTION TO
                            VOLUNTARILY DISMISS WITHOUT PREJUDICE

                 COMES NOW, Plaintiff, the Georgia Department of Community Health, by and through

    counsel, Christopher M. Carr,Attorney General for the State of Georgia, and hereby withdraws

    its motion to voluntarily dismiss complaint as the motion was Mended to be filed in the

    adversaryproceediag instead of in the underlying case.

                    This J2th day of.fuly, 2019,

                                                   Respectfitily submitted,

                                                   CHRISTOPHER M. CARR               112505
                                                   Attorney General

                                                   W. WRIGHT BANKS, JR.            036156
                                                   Deputy Attorney General

                                                   JUT,EE ADAMS JACOBS            003595
                                                   Senior Assistant Attorney General

                                                   Is/ Whitney Groff
                                                   WHITNEY GROFF                   738079
                                                   Assistant Attorney General

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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

     IN RE:

     CASSANDRA JOHNSON LANDRY.                            Chapter 7
                                                          Case No. '18-55697-1Tc
                                   Debtor,                Judge Lisa Ritchey Craig

     GEORGIA DEPARTMENT OF
     COMMUNITY HEALTH,
                                                          Adv. To. 18-05340
                                   Plaintiff,


     CASSANDRA JOHNSON LANDRY,

                                   Defendant.

                                 [PROPOSED/
                          DEFAULT JUDGMENT FOR TEE
                   GEORGIA DEPARTMENT OF COMMUNITY .14 KAl H.

              The Georgia Department of Community Health filed this adversary proceeding to

     determine whether its claim against the Defendant is subject to discharge in the

     Defendant-Debtor's Chapter 7 bankruptcy case,         Defendant-Debtor failed to file an

     answer to the adversary proceeding. The Clerk of Court entered a default on March 4,

     2019_ The Georgia Department of Community Health filed a Motion for Entry of Default

     Judgment in the above-styled adversary case, There being no response filed by the

     deadline and the Court having considered the motion and determined that it should be

     granted. It is hereby,

              ORDERED that the debt owed to Plaintiff, the Georgia Department of

     Community Health, by the Defendant-Debtor. Cassandra Johnson Landry for $42,63437

     is excepted from discharge, pursuant to 11 U.S.C. § 523(a)(2). It is further,
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            ORDERED that Defendant-Debtor's discharge under Chapter 7 as to the debt

     owed to the Department is denied, pursuant to 11 U.S.C. § 727(b)„ It is further,

            ORDERED that judvnent is entered against Defendant-Debtor in favor of the

     Department in the total amount of at least $42,63437, plus civil penalties, damages,

     interest, attorney fees and costs, pursuant to 0.C.GA. § 49-4-168,1(4

                                     (ENT) OF DOCUMENT)




     Prepared and Presented by:

     is/ Whitney Groff
     Whitney Groff Ga Bar No 738079
     Assistant Attorney General
     40 Capitol Square, SW
     Atlanta, Georgia 30334
     (404) 651-9457
     Attorney for Georgia•Departmetiu of Co ununity Health
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                                 OMIBIT B
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             es
         2015CV269501
         ALLIN4CE FOR CHANGE THROUGH TREATMENTVSJR HEALTHCARE DETHE40A,UNIVERSAL A   OR   FiATION,JOHN DOE I.-1JOHN DOE AGENCY I

         Fite Date  Type    Statue
         12/22t2015 DAMAGES Stayed




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                FILED 11/7/2017 11;59 AM CLERK OF SUPERIOR COURT DEKALS COUNTY GEORGIA



                        IN THE SUPERIOR COURT OF DEICALB COUNTY
                                    STATE OF GEORGIA
   Alliance for Change Through Treatment, LLC., *
                                                               Civil Action No.: 17-CV-949
          Petitioner,


  Department of Community health,
        Respondent.
                                               ORDER.

          The motion of Dorian Murry, Esquire, Attorney of record for the Petitioner Alliance for
  Change Through Treatment, LLC, to withdraw as Attorney of record having been read and

  considered;
          For good cause shown, it is hereby ORDERED AND ADJUDGED that Dorian Murry,
  Esquire, is hereby relieved as Attorney of Record for the Petitioner Alliance for Change Through
  Treatment, LLC.

          It is so ORDERED this                     day



                                                THE HONORABLE CL                     SEELIGER
                                                JUDGE, Superior Court
                                                Stone Mountain Yudicial       it
  Order Prepared by:
  Dorian Murry
  Geotgia Bar #532447
  5300 Memorial Drive, Suite 130
  Stone Mountain, Georgia 30083
  (770) 450-0123 -(404) 581-5644 Facsimile




                                                                                              SNH
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             THE MURRY LAW GROUP, RC
                                                                                               Attorneys at Law
                                                 September 14, 2017

Via Email: theraess@aolcorn, Regular Mail, and Certified Mail Return Receipt Requested

Alliance of Change Through Treatment
do Cassandra Johnson-Landry
3547 Habersham at Northlake, Building F
Tucker, GA 30084

            Re;          Alliance for Change Through Treatment, LLC v Departili ent of Community Health
                         Civil Action Na.: I7CV9498
                         Notice of Intent to Withdraw

Dear Ms. 1.,anclry:

              intend to withdraw from representing you in the above-referenced matter If I withdraw

     a) The DeKalb County. Superior Court will retain jurisdiction of the action;
     b) You will have the burden of keeping the court informed respecting where notices,
        pleadings, or other papers may be served;
     c) You will have the obligation to prepare for trial or hire other counsel to prepare for trial;
     d) There are no scheduled proceedings. We filed the petition for judicial review on
        September 5, 2017. The Department of Community Health was served on September 13,
        2017;
     e) You may be served notices at your last 1CDOWt1 address, 3547 Habersham at Northlake,
        Building F, Tucker, Georgia 30084; and
     f) You have the right to object within 10 days of the date of this notice„




                                                                 DORIAN MURY

WDOIKULtentr411601sSevols,                              soarc,            wrimas. n Lod..




                               5300 Memorial Drive; Suite 130 - Stone Mountain, GA 30083
                                 Telephone: (770) 450-0123 Facsimile: (404) 581-5644
                                               www.murrylawgroup.com
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                         EXHIBIT C
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                       PART I
                      POLICIES
                        AND
                    PROCEDURES
                        FOR
            MEDICAID/PEACIICARE FOR KIDS




               Georgia Department of Community Health

                              Division of Medicaid
                               Revised: January 1, 2012
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                denied the benefits of, or be subjected to discri illation under any program
                activity receiving federal financial assistance.

            D) Provide services in compliance with Section 504 of the Rehabilitation Act of
               1973 and the Americans with Disabilities Act of 1990. Section 504 provide
               that no otherwise qualified handicapped individual shall solely by reason of
               his or her handicap, be excluded from participation in, be denied the benefits
               of, or be subjected to discrimination under any program or activity receiving
               federal financial assistance,

            E) Not contact, provide gratuities or advertise free" services to Medicaid or
               PeachCare for Kids members for the purpose of soliciting members' requests
               for services. Any activity such as obtaining a list of Medicaid or PeachCare
               for Kids members or canvassing neighborhoods for direct contact with
               Medicaid or PeachCare for Kids members is prohibited. Any offer or payment
               of remuneration, whether direct, indirect, overt, covert, in cash or in kind, in
               return for the referral of a Medicaid or PeachCare for Kids member is also
               prohibited. It is not the intent of this provision to interfere with the normal
               pattern of quality medical care that results in follow-up treatment. Direct
               contact of patients for follow-up visits is not considered solicitation, nor is an
               acknowledgment that the provider accepts Medicaid/PeachCare for Kids
               patients.

             F) Allow Medicaid or PeachCare for Kids members the opportunity to choose
                freely among available enrolled providers. It is not the intent of this provision
                to preclude referrals to other enrolled providers when medically necessary.

             0) Not engage in any act or omission that constitutes or results in over utilization
                of services.

             H) Not intentionally or negligently damage or endanger the health, safety, or
                welfare of any Medicaid or PeachCare for Kids member.

             I) Not bill the Division for an amount greater than the lowest price regularly and
                routinely offered to any segment of the general public for the same service or
                item on the same date of service or accepted from other third party payers.

             3) Neither bill the Division for any services not performed or delivered in
                accordance with all applicable policies, nor submit false or inaccurate
                information to the Division relating to provider costs, claims, or assigned
                certification numbers for services rendered.

             K) 13i11 the Division for only those covered services that are medically nec ss
                and within accepted professional standards of practice.

             L) Accept responsibility for every claim submitted to the Division that bears the
                provider's name or Medicaid/PeachCare for Kids provider number,
                Submission of a claim by a provider or his agent, acceptance of a Remittance


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                      PART I
                     POLICIES
                       AND
                   PROCEDURES
                       FOR
           MEDICAID/PEACIICARE FOR KIDS




               Georgia Department of Community Health

                              Division of Medicaid

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Rev. 01/06        106,    General Conditions of Participation

                          As general conditions of participation, all enrolled providers must:

                          A) Be filly licensed without restriction and certified under all applicable state
                             and federal laws to perform the services in the applicable category of service,
                             maintain current (non-delinquent) licenses and certifications required for the
                             provision of such services, and inform the Division in writing immediately
         • Rev. 10/04
                             upon the expiration, suspension, probation, limitation or revocation of any
                             such license or certification.
             Rev. 01/06
                             1) A restriction shall be defined as.
             Rev. 04/05
                                • A public reprimand;
                                • Any period of probation, regardless of whether said period of probation
                                  is subject to terms and conditions;
                                • The requirement of compliance with any terms and conditions, as
             Rev. 01/06           administered by any licensing board, such that said compliance would
                                  allow the provider to practice in his or her trade;
                                • A suspension of any license for any period;
                                • A limit or restriction on any license, including, but not limited to,
                                  monitoring of the provider's work by a another professional and/or the
                                  submission of reports detailing job performance or mental/physical
                                  fitness for duty to any entity (a provisional license issued during license
                                  application is not considered a restriction for a home health provider);
                                • A license revocation;
             Rev. 07/05         • The application of a penalty or the withholding of formal disposition
                                  based upon the provider's submission to the care, counseling, or
                                  treatment of physicians or other professional persons, and the
                                  completion of such care, counseling or treatment.

                              2 As licensure relates to the operation of personal care homes that meet a
             Rev. 04/05         business need for the Department, an initial provisional license without
                                restriction issued as part of the application process for a license to operate
                                a personal care home shall not be considered a restriction.

             Rev. 10/05       3 Ensure that all licensed professional personnel providing services to
                                members through a provider's number are fully licensed without
             Rev. 01/06         restriction as defined in §106(A)(1). All licensed professional personnel
                                must meet all standards for full licensure in their respective field.

                          B) Comply with all State and Federal laws and regulations related to furnishing
                             Mcdicaid/PeachCare for Kids services.

                          C) Provide services in compliance with Title VI of the Civil Rights Act of 1964
                             as amended which provides that no person in the United States shall, on the
                             grounds of race, color, or national origin, be excluded from participation in, be



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Rev. 01/06        106.    General Conditions of

                          As general conditions of participation, all enrolled providers must

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                           and federal laws to perform the services in the applicable category of service,
                           maintain current (non-delinquent) licenses and certifications required for the
                           provision of such services, and inform the Division in writing immediately
             Rev. 10/04
                           upon the expiration, suspension, probation, limitation or revocation of any
                           such license or certification.
             Rev. 01/06
                             1) A restriction shall be defined as:
             Rev. 04/05
                                • A public reprimand;
                                • Any period of probation, regardless of whether said period of probation
                                  is subject to terms and conditions;
                                • The requirement of compliance with any terms and conditions, as
             Rev. 1/06            administered by any licensing board, such that said compliance would
                                  allow the provider to practice in his or her trade;
                                • A suspension of any license for any period;
                                • A limit or restriction on any license, including, but not limited to,
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                                  fitness for duty to any entity (a provisional license issued during license
                                  application is not considered a restnction for a home health provider);
                                • A license revocation;
             Rev. 07/05         • The application of a penalty or the withholding of formal disposition
                                  based upon the provider's submission to the care, counseling, or
                                  treatment of physicians or other professional persons, and the
                                  completion of such care, counseling or treatment.

                             •2) As licensure relates to the operation of personal care homes that meet a
             Rev. 04/05          business need for the Department, an initial provisional license without
                                 restriction issued as part of the application process for a license to operate
                                 a personal care home shall not be considered a restriction.

             Rev, 10/05        ) Ensure that all licensed professional personnel providing services to
                                 members through a provider's number are fully licensed without
             Rev. 01/06
                                 restriction as defined in §106(A)(1). All licensed professional personnel
                                 must meet all standards for full licensure in their respective field.

                          B) Comply with all State and Federal laws and regulations related to furnishing
                             Medicaid/PeachCare for Kids services.

                          C) Provide services in compliance with Title VI of the Civil Rights Act of 1964
                             as amended which provides that no person in the United States shall, on the
                             grounds of race, color, or national origin, be excluded from participation in, be



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                  denied the benefits of, or be subjected to discrininatioii under any program or
                  activity receiving federal financial assistance.

               D) Provide services in compliance with Section 504 of the Rehabilitation Act of
                  1973 and the Americans with Disabilities Act of 1990. Section 504 provide
                  that no otherwise qualified handicapped individual shall solely by reason of
                  his or her handicap, be excluded from participation in, be denied the benefits
                  of, or be subjected to discrimination under any program or activity receiving
                  federal financial assistance.

               E) Not contact, provide gratuities or advertise "free" services to Medicaid or
                  PeachCare for Kids members for the purpose of soliciting members' requests
                  for services. Any activity such as obtaining a list of Medicaid or PeachCare
                  for Kids members or canvassing neighborhoods for direct contact with
                  Medicaid or PeachCare for Kids members is prohibited. Any offer or payment
                  of remuneration, whether direct, indirect, overt, covert, in cash or in kind, in
                  return for the referral of a Medicaid or PeachCare for Kids member is also
                  prohibited. It is not the intent of this provision to interfere with the normal
                  pattern of quality medical care that results in follow-up treatment. Direct
                  contact of patients for follow-up visits is not considered solicitation, nor is an
                  acknowledgment that the provider accepts Medicaid/PeachCare for Kids
                  patients.

               F) Allow Medicaid or PeachCare for Kids members the opportunity to choose
                  freely among available enrolled providers. It is riot the intent of this provision
                  to preclude referrals to other enrolled providers when medically necessary.

               G) Not engage in any act or omission that constitutes or results in OVQI- utilization
                  of services.

               H) Not intentionally or negligently damage or endanger the health, safety, or
                  welfare of any Medicaid or PeachCare for Kids member.

Rev. 04/13         Not bill the Division for an amount greater than the lowest price regularly and
                   routinely offered to any segment of the general public for the same service or
                   item on the same date of service or accepted from other third party payers.

                ) Neither bill the Division for any services not performed or delivered in
                  accordance with all applicable policies, nor submit false or inaccin.ate
                  information to the Division relating to provider costs, claims, or assigned
                  certification numbers for services rendered.

               K) Bill the Division for only those covered services that are medically necessary
                  and within accepted professional standards of practice.

               L) Accept responsibility for every claim submitted to the Division that bears the
                  provider's name or Medicaid/PeachCare for Kids provider number.
                  Submission of a claim by a provider or his agent, acceptance of a Remittance


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                     Advice, or acceptance of claim payment constitutes verification that the
                     services were performed by that provider (or under his direct supervision, if
                     allowed by the Division) and that the provider authorized submission of the
                     claim for reimbursement, Remittance Advices shall be deemed accepted if the
                     provider does not notify the Division or its third party administrator to the
                     contrary in writing within ninety (90) days after their issuance. Payments shall
                     be deemed accepted when cashed, negotiated, or deposited, including those
                     payments deposited electronically.

                  M) Refund any overpayments or Advance Payments to the Division within
Rev. 07/04           required time frames.

                  N) Accept the Division's payment as payment-in-full for covered services to
                     patients accepted as Medicaid or PeachCare for Kids members. In most cases,
                     this does not prohibit the provider from receiving reimbursement for covered
                     services from liable third parties or other insurance plan. See Section 303.5 for
                     special rules that apply to tort cases.

                  0) Deduct all payments for covered services received from third parties or other
                     insurance plans from the amount billed to the Division for covered service(s)
                     rendered and notify the Division regarding the existence of any other
                     insurance or third party resource unless billing for managed care co-payment.

                  P) Agree not to seek or accept any payment whatsoever for covered services
Rev. 10/03           from the member or other interested party when the member was accepted as
                     a Medicaid or PeachCare for Kids member. However, they are required to pay
 Rev. 04/13          a co-payment for some services received. Further, no deposit may be required
                     from the member or other interested party pending receipt of Division
                     payment.

                  Q Not seek reimbursement from the member or other Interested party from
                    claims submitted to the Division for which payments subsequently are denied,
                    reduced, recouped, or refunded due to the provider's failure to comply with
                    Divisional policies and procedures (e.g., timely submission of claims,
                    incorrect billing, determination that services were not medically necessary,
                    etc.) or due to the provider's receipt of payment from a third party.

                  R) Maintain such written records for Medicaid/PeachCare for Kids members as
  Rev. 10/04         necessary to disclose fully the extent of services provided and the medical
                     necessity for the provision of such services, for a minimum of five (5) years
  Rev. 10/06         after the date of service. Providers should ensure that member records are
                     forwarded to a member's new provider during a change of ownership,
                     voluntary or involuntary termination, transfer of a member to a new provider
                     or any other action that requires the review of member records to determine
                     course of treatment. Member records must, at a minimum, reflect the date of
                     service, member name and medical history, the service provided, the
                     diagnosis and the prescribed drugs or treatment ordered, and the signature of


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                                   PART I
            POLICIESANDPROCEDURES
                      For
          MEDICAM/PEACHCAREFORKIDS




   GEORGIA DEPARTMENT OF COMMUNITY HEALTH

                          DIVISION OF MEDICAID

                                 October 1 2020
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                     (4) Within 35 days after any change in ownership of the fiscal agent

                     Disclosures from managed care enhties
                     (1) Upon request of the Division;

                     (2) Upon submission of a proposal during the Division's procurement process;

                     (3) Execution, renewal, or extension of a contract with the Division;

                     (4) Within 35 days after any change in ownership with of the managed care entity.

              105.17Temp      a ry M o atoyia
Rev. 10/13
              (1) Upon request from CMS, the Division shall impose temporary moratoria on
                  enrollment of new providers or provider types identified by CMS as posing an
                  increased risk to the Medicaid program.

              (2) The Division is not required to impose such a moratorium if it determines that
                  imposition of a tempormy moratorium would adversely affect

                     (a) If the Division makes such a determination, it shall notify CMS writing.

                     (b)(1) The Division may impose temporary moratoria on enrollment of new
                     providers or impose numerical caps or other limits that they identify as having a
                     significant potential for fraud, waste, or abuse and that CMS has identified as
                     being at high risk for fraud, waste, or abuse.

                     (b)(2)Before implementing the moratoria, caps, or other limits, the Division must
                     determine that its action would not adversely impact members' access to medical
                     assistance.

              (3) The Division shall notify CMS in writing in the event they seek to impose
              such moratoria, including all details of the moratoria; and obtain CMS's
              concurrence with imposition of the moratoria,

                     (a) The Division must impose the moratorium fOr an initial period of six (6)
                         months.

                     (b) If the Division determines that it is necessary they may extend the moratorium
                         in six (6) months increments.

                          For each occurrence the Division must document in writing the necessity for
                          extending the moratorium.

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             106.   General Conditions of Participation

                          As general conditions of participation, all enrolled providers must:

                          Be fully licensed without restriction and certified under all applicable state and
Rev,01/15                 federal laws to perform the services in the applicable categoryof service, maintain
                          current (non-delinquent) licenses and certifications required for the provision of
Rev 07/15                 such services, and inform the Division in writing immediately upon the
                          expiration, suspension, probation, limitation or revocation of any such license or
                          certification. Medical residents may enroll as prescribing physicians using their
                          Residency Training Permit (RIP) only for the purpose of prescribing outpatient
                          prescription medications.

Rev. 07/15                    1) A restriction shall be defined as:
                                 • A suspension of any license for anyperiod;
                                 • A license revocation;
                                 • A limit or restriction on any license which bars the provider from
                                   performing any applicable categoryof service;

                              2) As licensure relates to the operation of personal care homes that meet a
                                 business need for the Department, an initial provisional license without
                                 restriction issued as part of the application process for a license to opei-ate
                                 a personal care home shall not be considered a restriction.

                                     sure that all licensed professional personnel providing services to
                                        bers through a provider's number are fully licensed without
                                  restriction as defined in §106(A)(1). All licensed professional personnel
                                  must meet all standards for full licensure in their respective field.

                          B) Comply with all State and Federal laws and regulations related to furnishing
                             Medicaid/PeachCare for Kids services.

                          C) Provide services in compliance with Title VI of the Civil Rights Act of 1964 as
                             amended which provides that no person in the United States shall, on the grounds
                             of race, color, or national origin, be excluded from participation in, be denied
                             the benefits of, or be subjected to discrimination under any program or activity
                             receiving federal financial assistance,

                           D) Provide services in compliance with Section 504 of the Rehabilitation Act of
                              1973 and the Americans with Disabilities Act of 1990. Section 504 providethat
                              no otherwise qualified handicapped individual shall solely by reason of his or
                              her handicap, be excluded from participation in, be denied the benefits of; or be
   Rev. 04/13                 subjected to discrimination under any program or activity receiving federal
                              financial assistance.

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                E Not contact, provide gratuities or advertise "free" services to Medicaid or
                  PeachCare for Kids members for the purpose of soliciting members' requests for
                  services. Any activity such as obtaining a list of Medicaid or PeachCare for Kids
                  members or canvassing neighborhoods for direct contact with Medicaid or
                  PeachCare for Kids members is prohibited. Any offer or payment of
                  remuneration, whether direct, indirect, overt, covert, in cash orin kind, in return
                  for the referral of a Medicaid or PeachCare for Kids member is also prohibited.
                  It is not the intent of this provision to interfere with the normal pattern of quality
                  medical care that results in follow-up treatment. Direct contact of patients for
                  follow-up visits is not considered solicitation, nor is an acknowledgment that the
                  provider accepts Medicaid/PeachCare for Kids patients.

                    ) Allow Medicaid or PeachCare for Kids members the opportunity to choose
                      freely among available enrolled providers. It is not the intent of this provision to
                      preclude referrals to other enrolled providers when medicallynecessary.

                0) Not engage in any act or omission that constitutes or results in over utilization
                   of services.

                H) Not intentionally or negligently damage or endanger the health safety, or
                   welfare of any Medicaid or PeachCare for Kids member.

Rev. 04/13     1) Not bill the Division for an amount greater than the lowest price regularly and
                   routinely offered to any segment of the general public for the same service or
                   item on the same date of service or accepted from other third partypayers.

                i) Neither bill the Division for any services not performed or delivered in
                   accordance with all applicable policies, nor submit false or inaccurate
                   information to the Division relating to provider costs, claims, or assigned
                   certification numbers for services rendered.

                K) Bill the Division for only those covered services that are medically necessary
                   and within accepted professional standards of practice.

                L) Accept responsibility for every claim submitted to the Division that bears the
                   provider's name or Medicaid/PeachCare for Kids provider number. Submission
                   of a claim by a provider or his agent, acceptance of a Remittance Advice, or
                   acceptance of claim payment constitutes verification that the services were
                   performed by that provider (or under his direct supervision, if allowed by the
                   Division) and that the provider authorized submission of the claim for
                   reimbursement. Remittance Advices shall be deemed accepted if the provider
                   does not notify the Division or its third party administrator to the contrary in
                   writing within ninety (90) days after their issuance. Payments shall be deemed
                   accepted when cashed, negotiated, or deposited, including those payments
                   deposited electronically.

                M) Refund any overpayrnents to the Division within required time frames.
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    Department of Health and Human Services
                          OFFICE OF
                     INSPECTOR GENERAL



        INCONSISTENCIES IN STATE
           IMPLEMENTATION OF
         CORRECT CODING EDITS
          MAY ALLOW IMPROPER
           MEDICAID PAYMENTS




                                              Suzanne Murrill
                                         Deputy Inspector General for
                                          Evaluation and Inspections

                                                April 2016
                                              0E1-09-14-00440
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    EXECUTIVE SUMMARY: INCONSISTENCIES IN STATE IMPLEMENTATION
    OF CORRECT CODING EDITS MAY ALLOW IMPROPER MEDICAID
    PAYMENTS
    0E1-09.14-00.440

    WHY WE DID THIS STUDY

    Improper payments to healthcare providers constitute a significant vulnerability for
    Medicaid, costing an estimated $17.5 billion m fiscal year 2014. Automated claims
    processing safeguards called "edits" are critical program integrity tools that are available
    to State Medicaid agencies to prevent these improper payments. The Affordable Care Act
    required all States to implement the Medicaid National Correct Coding Initiative (NCCI)
    edits by October 1, 2010. The NCCI edits are designed to encourage providers to code
    correctly by automatically denying fee-for-service Medicaid payments for services that
    do not meet basic medical or billing standards.

    HOW WE DID THIS STUDY

    We used three data sources in our review. We surveyed all States about their progress
    and experiences implementing the NCCI edits. We asked all States to process a set of
    test claims to "spot check" their use of selected NCCI edits. We received their test
    claims results and survey responses in November 2014. We reviewed the cost savings
    estimates from the NCCI edits that States submitted to the Centers for Medicare &
    Medicaid Services (CMS) covering the period from January 2012 to August 2015.

    WHAT WE FOUND

    The effectiveness of the Medicaid NCCI edits was limited because some States had no
    fully implemented them and most did not use all of the edits correctly. States'
    inconsistent implementation and use of the edits may reduce their ability to promote
    correct coding by providers and prevent improper Medicaid payments. Additionally,
    States' lack of reporting of cost savings estimates, and the limitations of the estimates
    that were reported, inhibit CMS's ability to meaningfully estimate national NCCI cost
    savings, Despite these weaknesses, nearly all States reported that using the NCCI edits
    benefitted their Medicaid programs, and some voluntarily used the edits on claim paid
    under managed care.

    WHAT WE RECOMMEND

    We recommend that CMS (1) take appropriate action to ensure that States fully
    implement the NCCI edits, (2) provide technical assistance to States to ensure that they
    use the NCCI edits correctly, (3) issue guidance to States on how to estimate NCCI cost
    savings and take steps to ensure that States report as required, and (4) examine whether
    using the NCCI edits on claims paid under managed care is beneficial, and if so, take
    appropriate action. CMS concurred with all four recommendations.
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                      OBJECTIVES
                      1    To determine the extent to which States have implemented the required
                           Medicaid National Correct Coding Initiative (NCCI) edits.
                      2. To determine the extent to which States used the NCCI edits consistent
                         with NCCI program requirements.
                      3. To examine the extent to which States reported NCCI cost savings
                         estimates to the Centers for Medicare & Medicaid Services (CMS) a
                         required, and to assess the quality of the reported data.
                      4. To determine whether States voluntarily used the NCCI edits on
                         Medicaid claims paid under managed care.

                      BACKGROUND
                      Edits are automated claims processing safeguards that are available to
                      State Medicaid agencies to help ensure program integrity.' According to
                      CMS, edits that are not implemented or working properly are a primary
                      cause of improper payments., Improper payments to healthcare providers
                      constitute a significant vulnerability for Medicaid, costing a projected
                      $17.5 billion in fiscal year 2014.3
                      The Affordable Care Act required all States to implement the Medicaid
                      NCCI edits by October 1, 2010.4 The NCC1 edits automatically deny
                      payment for services that do not meet basic medical or billing standards.
                      The NCCI edits are designed to encourage providers to use the correct
                      medical billing codes that accurately reflect the services provided to a
                      patient These codes determine how much Medicaid pays to providers for
                      each service. The NCO. edits have been an effective program integrity
                      tool in the Medicare program, Since their implementation in Medicare in




                       CMS, Comprehet ive Medicaid Integrity Plan Fiscal Years 2014-2018, p. 15k:
                      2 Ibid.
                      3 CMS, Medicaid and CHIP 2014 Improper Payments Reports, p. 3.
                      4 The Patient Protection and Affordable Care Act, P,L., 111-148, § 6507 (March 23,
                      2010), as amended by the Health Care Reconciliation Act of 2010,
                      P.L 111-152 (March 30, 2010), collectively known as the Affordable Can. Act.
                      5 CMS, National Convet Coding Initiative Policy Manual for Medicaid Senlces.
                      Introduction p. 3. January 1, 2014,

    Inconsistencies in State Implementation of Correct Coding Edits May Mow Improper Medicaid Payments
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                      1996, the NCCI edits have saved over $7.5 billion dollars in program
                      expenditures through 2013.6
                      Medicaid NCCI Edits
                      The NCCI edits are payment rules programmed into States' claims
                      processing systems to automatically deny payment for ineligible and
                      incorrectly coded services on Medicaid fee-for-service claims. For
                      example, an NCCI edit would deny payment to a provider who bills
                      Medicaid for more than one appendectomy on the same patient. When an
                      NCCI edit denies payment for a service, providers may correct the coding
                      for the service and rebut the Medicaid program, if appropriate. Ideally,
                      over time, providers whose payments are denied because they are
                      inconsistent with NCO edits will code future claims correctly. The NCCI
                      edits are based on, among other things, standard medical practice and
                      coding conventions./ The NCCI edits apply only to services that are
                      performed by the same provider, for the same beneficiary, on the same
                      date of service.
                      There are two types of NCCI edits: (I) medically unlikely edits and
                      (2) procedure-to-procedure edits. Each of the two edit types is used on
                      claims from three types of services. Collectively, these comprise the six
                      NCCI edit categories, as shown in Figure 1, In total, there are
                      approximately 1.3 million NCO' edits, most of which are
                      procedure-to-procedure edits. States may use the NCCI edits on claims
                      paid under managed care, although it is not requirec1.8




                       6 U.S. Department of Health and Human Services, Report to Congress on the
                       Implementation of     National Correct Coding Initiative in the Medicaid Program, p. 3,
                       March 1, 2011. Testimony of Shantanu Agrawal, CMS Deputy Administrator and
                       Director on CMS Efforts to Reduce Improper Payments in the Medicare Progi.am before
                       the Committee on Oversight & Government Reform, Subcommittee on Energy Policy,
                       Health Care & Entitlements, United States House of Representatives, May 20, 2014.
                         CMS, State Medicaid Director Letter, National Correct Coding Initiatil,e SMDL
                       #I0-017, September I, 2010.
                         Managed care covers nearly three-quarters of Medicaid enrollees. CMS, Centerfor
                       Medicaid and CHIP Services Technical Guidance on State Implementation of the
                       Medicaid National Correct Coding Initiative Methodologies,p. 7, October 10, 2014.
                       CMS, Medicaid Managed Care Enrollment Report: Summary Statistics as of July 1,
                       2013. Accessed at htipillwww.medicaid.goi on January 26, 2016.

    Inconsistencies in State Implementation of Correct Coding Edits May Allow Improper Medicaid Payments     2
    (0E1-09-144)440)
Case 18-55697-lrc           Doc 323         Filed 11/18/20 Entered 11/18/20 15:15:58                       Desc Main
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                       Figure 1: Six Medicaid NCCI Edit Categories


                            1.Practitioner Medically Unlikely Edits

                            2.Outpatient Medically Unlikely Edits

                            3,Durable Medical Equipment Medically Unlikely Edits



                            4,Practitioner Procedure-lo-Procedure Edits

                            5. Outpatient Procedure-to-Procedure Edits

                            6 Durable Medical Equipment Procedure-to-Procedure Edits

                       Source; CMS, Medicaid NCCI Edit Design Manual, 2014,

                       Medically unlikely edits. Medically unlikely edits prevent payment loran
                       inappropriate number of the same service for the same beneficiary on a
                       single day. CMS defines the "medically unlikely value' for a service as
                       the "maximum units of service reportable" under most circumstances,
                       based on standard medical practice.' If a provider bills for more units of
                       service than the medically unlikely value, payment for all units of service
                       should be denied. According to CMS, denying payment for all units of
                       service ineentivizes providers to code correctly, because the provider must
                       rebill for the correct number of services to receive any payment."' For
                       example, because an individual has only one gallbladder, the medically
                       unlikely value for a gallbladder removal surgery is one. If a provider bills
                       for two gallbladder removal surgeries for a patient on the same day, the
                       medically unlikely edit should deny payment for both surgeries. The
                       provider may then rebill for a single gallbladder removal surgery, if
                       appropriate.
                       Under certain circumstances, a provider may bill for multiple services
                       provided to a beneficiary over a period of time (date span) without
                       specifying the specific day that each service was provided, In these
                       instances, the average units of service provided per day must not exceed
                       the medically unlikely value for that service. For example, hospital
                       patients may receive physical therapy treatment in a whirlpool once per
                       day, However, hospitals may bill for more than one whirlpool treatment
                       over the date span of the patient's stay as long as the average number of
                       whirlpool treatments per day rounds to one or less.



                       9 CMS, National     Correct Coding Initiative Policy Manualfor Medicaid Services, Chapter
                         p. I-6, January 1, 2014.
                       i° CMS, Fact Sheet: Updates on the Medicaid National Correct Coding Initiative
                       Methodologies, p. 4-5. Accessed at http://www.medicaid.goy on August 12, 2015,

    Inconsistencies In State Implementation of Correct Coding Edits May Allow improper Medicaid Payments
    (0E1-09-14-00440)
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                       Procedure-to-procedure edits. Procedure-to-procedure edits prevent
                       payment for pairs of services that providers should not bill together on the
                       same day (edit pair). If a provider bills for both services in a
                       procedure-to-procedure edit pair for the same beneficiary on the same day,
                       the edit specifies winch service should be paid and should automatically
                       deny payment for the other service. For example, a cardiac stress test
                       includes multiple electrocardiograms, so a provider should not bill for an
                       electrocardiogram in addition to the cardiac stress test. In this example,
                       the procedure-to-procedure edit should allow payment for the cardiac
                       stress test and deny payment for any separately billed electrocardiograms.
                       Under limited circumstances, providers may bill for both services in a
                       procedure-to-procedure edit pair, though they would have to include one
                       or more modifiers on the claim to receive payment. A modifier is a
                       two-digit code that further describes the service(s) performed, and that
                       may allow the claim to bypass an NCCI edit. For example, an NCCI edit
                       would not allow providers to bill for two separate surgeries on one
                       shoulder fbr a single beneficiary on the same day. However, if two
                       surgeries were performed, one on each shoulder, providers may add
                       modifiers to the claim that would allow it to bypass the NCCI edit."
                       Medicaid NCCI Program Requirements
                       The Affordable Care Act required all States to implement the NCCI edits
                       into their Medicaid claims processing systems.12 Through technical
                       guidance to States, CMS specifies how States must use the NCCI edits.
                       NCCI program requirements include:
                       Correct order to use NCCI edits during clahns pl-ocessing. NCCI edits
                       must be applied to Medicaid claims first, before applying any
                       State-specific edits (State edits).13 Although CMS allows States to use
                       additional edits, applying the NCCI edits first can help promote coding
                       consistency across Medicaid providers nationwide.
                       Correct auarterlv edit file for use by States. CMS posts updated edit files
                       for each of the six NCCI edit categories every quarter. The files are
                       posted on the Medicaid Integrity Institute's secure Web site for States to
                       download. States must download and use these files, rather than a similar

                       "Modifiers should only be used to bypass NCCI edits if documentation in the medical
                       record supports the use of the modifier, CMS, National Correct Coding Initiative Policy
                       Manually. Medicaid Services, Chapter I p. 1-23, January 1 , 2014.
                       12 Affordable Care Act § 6507.

                       11 States may use screening edits—such as those that check for Medicaid eligibility or
                       missing information-- before the NCCI edits, Centei.for Medicaid and CHIP Services
                       Tee.hnical Guidance on State Implementation of the Medicaid National Correct Coding
                       Initiative Methodologies, p. 16, October 10, 2014.

    Inconsistencies in State Implementation of Correct Coding Edits May Allow Improper Medicaid Payments
    (OEI-09-14-00440)
     Case 18-55697-lrc   Doc 323     Filed 11/18/20 Entered 11/18/20 15:15:58               Desc Main
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                     Advice, or acceptance of claim payment constitutes verification that the
                     services were performed by that provider (or under his direct supervision, if
                     allowed by the Division) and that the provider authorized submission of the
                     claim for reimbursement. Remittance Advices shall be deemed accepted if the
                     provider does not notify, the Division or its third party administrator to the
                     contrary in writing within ninety (90) days after their issuance. Payments shall
                     be deemed accepted when cashed, negotiated, or deposited, including those
                     payments deposited electronically.

                  M) Refund any overpayments or Advance Payments to the Division within
Rev. 07/04           required time frames.

                  N) Accept the Division's payment as payment-in-full for covered services to
                     patients accepted as Medicaid or PeachCare for Kids members. In most cases,
                     this does not prohibit the provider from receiving reimbursement for covered
                     services from liable third parties or other insurance plan. See Section 303.5 for
                     special rules that apply to tort cases.

                  0) Deduct all payments for covered services received from third parties or other
                     insurance plans from the amount billed to the Division for covered service(s)
                     rendered and notify the Division regarding the existence of any other
                     insurance or third party resource unless billing for managed care co-payment,

                  P) Agree not to seek or accept any payment whatsoever for covered services
Rev. 0/03            from the member or other interested party when the member was accepted as
                     a Medicaid or PeachCare for Kids member, This includes managed care
                     discounts or co-payments. (The managed care co-payments may be billed to
                     the Division.) Further, no deposit may be required from the member or other
                     interested party pending receipt of Division payment.

                  Q Not seek reimbursement from the member or other interested party from
                    claims submitted to the Division for which payments subsequently are denied,
                    reduced, recouped, or refunded due to the provider's failure to comply with
                    Divisional policies and procedures (e.g., timely submission of claims,
                    incorrect billing, determination that services were not medically necessary,
                    etc.) or due to the provider's receipt of payment from a third party,

                  R) Maintain such written records for Medicaid/PeachCare for Kids members as
  Rev. 10/04         necessary to disclose fully the extent of services provided and the medical
                     necessity for the provision of such services, for a minimum of five (5) years
  Rev. 10/06         after the date of service. Providers should ensure that member records are
                     forwarded to a member's new provider during a change of ownership,
                     voluntary or involuntary termination, transfer of a member to a new provider
                     or any other action that requires the review of member records to determine
                     course of treatment. Member records must, at a minimum, reflect the date of
                     service, member name and medical history, the service provided, the
                     diagnosis and the prescribed drugs or treatment ordered, and the signature of


                                                 Part!                                           1-19
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      Summary of Audit Findings by he Georgia ERO
                                                           Legal Name of Audited Agency and PVGA #
                                                           Alliance for Change Through                                           Overall
                                                           Treatment, PVGA #79                                                   Score*
                                                           Location of Audit
                                                           3547 Habersham at Northlake
                                                           Suite F. Tuckers GA 30084
    APS Healthcare                                         AssignedlAssociated
                                                           Region/Reglonal Board
                                                                                                           # Charts
                                                                                                           Reviewed
                                                           Region Three                                        29                360/0_,
                                                           Date Range of Audit
                                      March 31-April 1, 2014                                                                            ,
          Auditors Brianne Slover, LCSW and Mark Knopp, PsyD
The Overall Score is calculated by averaging the five scams: AssessmenWe-Assessment, Treatment Planning, Documentation of Service
Provision, Programmatic Integrity, and Billing. Each area accounts for 20% of the Overall Score. Audit Tool questions are derived from the
DSHOD Provider Manual and the Medicaid Policies Manuel.

                                                                                                                                       FY13
100%
                                                                                                          Current Previous            State
                                                                                                                                     Average
 75%                                                                                 Assessment            76.6%          99%         97%
                                                                                      Treatment
  50%
                                                                                       Planning            48.7%         53.7%         73%
                                                                                   Programmatic                                        84%
                                                                                                                          88%
  25%                                                                                  Integrity           38.8%
                                                                                   Documentation
                                                                                                           15.9%         82.8%         89%
                                                                                    • of Service
   0%
                                                                                      • Billing             4.4%        60.9%          72%
                                                                                       Overall             36%           76%           83%



                                                                                                                                    Score
The Billing Score Is the percentage of Justified billed units vs. paid/billed units for the audited billing instances. Paid
Dollars are calculated based on payer; Medicaid (MR0) is the sum of paid Claims; Fee-for-Service (FFS) is the sum of                44%
paid encounters; State Contracted Services (SCS) is the estimated sum based on service rates multiplied by service
units.

                                        Billing Sample: Justified vs. Unjustified
                                                           MR0 Billing                                                        o Justified
                                                                                                                              O Unjustified




                                           Total Billing Sample Reviewed: $53,840
                        APS Healthcare, Inc. (Georgia ERG)       Summary of Audit Findings      Page 1 of 14— FY14 1-14
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             Summary of Audit Findings by the Georgia ERO
                                                            Legal Name of Audited Agency and PVGA #
                                                            Alliance for Change through                                             Overall
                                                            Treatment; PVGA #79                                                     Score*
                                                            Location of Audit
                                                            3547 Habersham at Northlake
                                                            Building F
-frsi
        APS
        ws—
            Healthcare                                      Tucker, Georgia
                                                            Assigned
                                                                         '
                                                                            30084
                                                                           # Charts —
                                                                                                Services Provided                 63%
                                                            Region         Reviewed
                                                                 3             24             C&A Core and IFI
                                                            Date Range ofAudit
                                          September 9-11, 2014                        —
         Auditors         Amanda Hawes, LCSW; Brianne Slaver, LCSW; and Steve Hodges LPC
 The Overall Score Is calculated by averaging the five scores: Assessment/Re-As.sessment, Treatment Planning, Documentation of Service
Pmvision, Programmatic Integrity, and Billing. Each area accounts for 20% of the Overall Score. Audit Tool questions are derived from the
DBHOD Provider Manual and the Medicaid Policies Manual.


 100%                                                                                                                                   FY14
                                                                                                           Current Previous             State
                                                                                                                                       Average
   75%
                                                                                     Assessment              90%          76.6%         98.7%
               71%            76%                                                     Treatment             59.2%
   50%                                                                                                                    48.7%         79.3%
                                                                63%                    Plannin
                                                                                    Programmatic            77..1%        35,5%         813%
   25%                                                                                 Integrity
                                                  36%
                                                                                    Documentation           87.8%         15.9%         91.9%
        0%                                                                            of Service
                                                                                        Billing               0%           4.4%         77.4%
                                           ' 5)                                         Overall                  %         36%           86%


Billing
The Billing Score is the percentage of justified billed units vs. paid/billed units for the audited billed claims. Paid Dollars        0%
am calculated based on payer: Medicaid (14/30) is the sum of paid claims; Fee-for-Service (FFS) is the sum of paid
encounters; State Contracted Services (SCS) Is the estimated sum based on service rates multiplied by service units.

                                   Billing Sample: Justified vs. Unjustified
                                                        Combined Billing                                                    CI Justified
                                                                                                                                  Unjustified




                                         Total Billing Sample Reviewed: $11,573
                       APS Healthcare, Inc, (Georgia ERO)      Summary of Audit Findings       Page 1 of 14 Pa5 8-1514
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        Summary of Audit Findings by the Georgia ERO
                                                            Legal Name of Audited Agency and PVGA #                        '
                                                            Alliance for Change Through                                             Overall
                                                            Treatment, LLC PVGA #79                                                  Score*
                                                            Location of Audit
                                                            3547 Habersham at Northlake
                                                            Building F
    APS Healthcare                                          Tucker, GA
                                                            Assigned
                                                                         30084
                                                                     # Charts
                                                                                               Services Provided
                                                            Region        Reviewed                                                    0%
                                                                 3            26       1        C&A Core, IF
                                                            Date Range of Audit
                                          April 28, 2015
     Auditors             Amanda Hawes, LCSW; Mark Knopp, PsyD; Steve Hodges, LPC
*The Overall Score Is calculated by averaging the five scores: Assessment/fie-Assessment, Treatment Planning, Documentation of Service
Provision, Programmatic Integrity, and Billing. Each area accounts for 20% of the Overall Score. Audit Tool questions are derived from the
DBHOD Provider Manual and the Medicaid Policies Manual.

                                                                                                                                          FY14
100%
                                                                                                           Current Previous               State
                                                                                                                                         Average
  75%                                                                                Assessment               0%           90%            98.7%
                                                                                      Treatment               0%          59.2%
  50%                                                                                                                                    79.3%
                                                                                       Planning
                                                                                    Programmatic              0%
                                                                                                                          77.1%           81.7%
  25%                                                                                  Integrity
                                                                                    Documentation             0%          87.8%           91.9%
   0%                                                                                 of Service
                                                                                        Billing               0%               0%         77.4%
                                                                                        Overall               0%           63%             86%


Billing
The Billing Score is the percentage of justified billed units vs. paid I billed units forthe audited billed claims Paid Dollars          0%
are calculated based on payer: Medicaid (MRO) is the sum of paid claims; Fee-for-Service (FPS) Is the sum of paid
encounters; State Contracted San/ices (SOS) is the estimated sum based on service rates multiplied by service units,

                                   Billing Sample: Justified vs. Unjustified
                                                      MRO Billing                                                                   ustified
                                                                                                                                  Unjustified




                                         Total Billing Sample Reviewed: $25,327

                        APS Healthcare, Inc, (Georgia ERO)      Summary of Audit Findings ^, Page 1 of 9 — FY15 10'S-li
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 kPS
44             Healthcare                                            APS Healthcare, Inc.
                                                     POLICIES & PROCEDURES
                                  External Review Organization for Georgia's Behavioral Health, and
                                                          Developmental Disability Service System
      documented in an Exit Intervievv form signed by the APS Auditor and an agency
      representative. A copy of the Exit Interview form will be left with the provider agency.

  3. Following the audit, APS prepares a written Audit summary of all findings. This audit
     summary is sent to the provider, the regional and state DBHDD offices, and the
     Department of Community Health (DCH).
  4. For Ad Hoc or unannounced audits findings, providers have an option of a Level I audit
     appeal only. (See Audit Appeals P&P for more details).




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                                                                rs Healthcare, Inc.
                                                    POLICIES & PROCEDURES
                                        External Review Organization for Georgia's Mental Health,
                                    Developmental Disability and Addictive Disease Service System



   4. Following the Audit, APS prepares a written Audit summary of all findings. This audit
      summary is sent to the provider, the regional and state DMHDDAD offices, and the
      Department of Community Health (DCH).

   5. For Ad Hoe or unannounced audits findings, providers have an option of a Level I audit
      appeal only. (See Audit Appeals P&P for mol-e details).




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                                                                               APS Healthcare, Inc.

          S HEALTIICATZE                               POLICIES & PROCEDURES
                        To.gaktin          External Review Organization for Georgia's Mental Health,
                                       Developmental Disability and Addictive Disease Service System




SUBJECT:                    Unannounced or Ad Hoc Audits
ISSUED:                     1/2006
REVISED:
REVIEW ON:                  9/2006, 2/2007, 2/2008

POLICY                      Ad Hoc Audits

                Included in APS Healthcare, Inc. GA ERO contract is the responsibility to
                conduct routine record audits of providers contracted by the state to provide
                MHDDAD services. Components of this contract include the review of provider
                billing practices and clinical documentation against the state service guidelines,
                provider manual, and evidenced based best practices. Ad Hoc or unannounced
                audits can be triggered by a cumulative audit score of 60% or less for 2 or more
                consecutive audit cycles, specific provider programs not meeting DMHDDAD
                service guideline requirements, or based on priority and at the discretion of the
                Division of MHDDAD.

DEFINITIONS

                AD HOC AUDITS — The unscheduled record review of providers identified to
                provide services with the Division of MHDDAD.

                PROVIDER - An agency identified by the state to provide MHDDAD services

                DMHDDAD - The State of Georgia Division of Mental Health, Developmental
                Disabilities and Addictive Diseases.

PROCEDURES

    I. As part of the provider audit process, APS Trainer/Auditor staff will review
       documentation in the consumer medical record of sell/ices provided/documented by a
       provider against the state DMHDDAD Service Guidelines unannounced, or with no more
       than three (3) days notice to the provider, when requested by the DMHDDAD.

       All inconsistencies between services provided/documented and standards outlined in the
       state DMHDDAD Service Guidelines will be noted and scored in the audit tool. (See APS
       GA ERO Provider Handbook for more details regarding the Ad Hoc Billing Audit)

       APS Trainer/Auditor staff verbally review audit findings with the provider in their Exit
       Interview. This includes the identification of billing instances where potential abusive or
       fraudulent practices may exist., Additionally, APS staff may make recommendations for
       improved practices and/or recouprnent of payment.

Ad Hoc Audits P&P                                                                 Page of 2
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   APS Healthcare                                                    APS Healthcare, Inc.
                                                     POLICIES & PROCEDURES
                                  External Review Organization for Georgia's Behavioral Health, and
                                                          Developmental Disability Service System


SUBJECT:                   Unannounced or Ad Hoc Audits
ISSUED:                    1/2006
REVISED:                   9/2009
REVIEW ON:                 9/2006, 2/2007, 2/2008, 2/2009

POLICY                     Ad Hoc Audits

                Included in APS Healthcare, Inc. GA ERO contract is the responsibility to
                conduct routine record audits of providers identified by the state to provide
                BHDD services. Components of this contract include the review of provider
                billing practices and clinical documentation against the DBHDD Provider
                Manual, Medicaid Manual and evidenced based best practices. Ad Hoc or
                unannounced audits can be triggered by a cumulative audit score of less than
                70% for 3 or more consecutive audit cycles, specific provider programs not
                meeting DBHDD Provider Manual requirements, or based on priority and at the
                discretion of the Division of BI1DD.

DEFINITIONS

                AD HOC AUDITS The unscheduled record review of providers identified to
                provide services with the Division of 1VIHDDAD.

                DBLIDD -The State of Georgia Division of Mental Health, Developmental
                Disabilities and Addictive Diseases.


                PROVIDER - An agency identified by the state to provide MHDDAD services


PROCEDURES

       As part of the provider audit process, APS Auditor/Trainer staff will review
       documentation in the consumer medical record of services provided/documented by a
       provider against the DBHDD Provider Manual, Medicaid Manual and evidenced based
       best practices. Additionally, Ad Hoc audits may include contact with families or
       collaborating agencies. This audit will be unannounced, or with no more than three (3)
       days notice to the provider, when requested by the DBHDD.

   2. APS Auditor/Trainer staff verbally review audit findings with the provider in their Exit
      Interview. The Auditor will note all inconsistencies and unjustified billing. Additionally,
      APS staff may make recommendations for improved practices. This information will be


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                                                                             APS Healthcare, Inc.
                                                     POLICIES & PROCEDURES
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              114:%iitizy Mooker                      External Review Organization for the Georgia
                                     Department of Behavioral Health and Developmental Disabilities




SUBJECT:                    Unannounced or Ad Hoc Audits
ISSUED:                     1/2006
REVISED:                    6/2013
REVIEW ON:                  9/2006, 2/2007, 2/2008, 2/2009, 4/2010, 6/2013

POLICY                      Ad Hoc Audits

               Included in APS Healthcare, Inc. GA ERO contract is the responsibility to
               conduct routine record audits of providers identified by the state to provide
               BlIDD services. Components of this contract include the review of provider
               billing practices and clinical documentation against the DBHDD Provider
               Manual, Medicaid Manual and evidenced based best practices. Ad Hoc or
               unannounced audits can be triggered by a cumulative audit score of less than
               70% for 3 or more consecutive audit cycles, specific provider programs not
               meeting DBHDD Provider Manual requirements, or based on priority and at the
               discretion of the Division of BHDD,

DEFINITIONS

                AD HOC AUDITS -- The unscheduled record review of providers identified to
                provide services with the Department of BHDD.

                DBHDD - The State of Georgia's Division of Behavioral Health and
                Developmental Disabilities.


                PROVIDER - An agency identified by the state to provide BHDD services


PROCEDURES

   1. As part of the provider audit process, APS Auditor/Trainer staff will review
      documentation in the consumer medical record of services provided/documented by a
      provider against the DBIIDD Provider Manual, Medicaid Manual, and evidenced based
      best practices. Additionally, Ad Hoc audits may include contact with farnilies or
      collaborating agencies. This audit will be unannounced, or with no more than three (3)
      days notice to the provider, when requested by the D13 HOD

   2. APS Auditor/Trainer staff may verbally review audit findings with the provider in their
      Exit Interview. The Auditor will note all inconsistencies and unjustified billing.
      Additionally, APS staff may make recommendations for improved practices. This
      information may be documented in an Exit Interview form signed by the APS Auditor

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                                                                              APS Healthcare, Inc.

    MS HEALTHCARE                                     POLICIES &'PROCEDURES
          arakhy                                      External Review Organization for the Georgia
                                     Department of E3ehavioral Health and Developmental Disabilities



      and an agency representative. If an exit interview is conducted, a copy of the Exit
      Interview form will be left with the provider agency.

   3. Following the audit, APS prepares a written Audit summary of all findings. This audit
      summary is sent to the regional and state DBHDD offices, and the Department of
      Community Health (I)CH), and may be sent to the provider. It may be posted to the APS
      Knowledgebase at www.apsero.com.

   4. For Ad Hoc or unannounced audits findings, providers may have an option of a Level I
      audit appeal only. (See Audit Appeals P&P for more details).




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                                                                                  APS •Healthcare, Inc.

       APS HEAMICARE                                      POLICIES & PROCEDURES
                                                           External Review Organization for the Georgia
                                          Department of Behavioral Health and Developmental Disabilities




  SUBJECT:                      Unannounced or Ad Hoc Audits
  ISSUED:                       1/2006
  REVISED:                       /2014
  REVIEW ON:                    9/2006, 2/2007, 2/2008 2/2009, 4/2010, 6/2013, 8/2014

   POLICY                       Ad Hoc Audits

                  Included in APS Healthcare, Inc, GA ERO contract is the responsibility to
                  conduct routine record audits of providers identified by the state to provide
                  BHDD services. Components of thiS contract include the review of provider
                  billing practices and clinical documentation against the DBHDD Provider
                  Manual, Medicaid Manual and evidenced based best practices. Ad Hoc or
                  unannounced audits can be triggered 'oy a cumulative audit score of less than
                  70% for 3 or more consecutive audit cycles, specific provider programs not
                  meeting DBI-IDD Provider Manual requirements, or based on priority and at the
                  discretion of the Department of BHDD,

   DEFINITIONS

                      AD HOC:AUDITS The unscheduled record review of providers identified to
                      provide services with the Department of BHDD

                      DBIIDD - The State of Georgia's Department of Behavioral Health and
                      Developmental Disabilities,


                  PROVIDER - An agency identified by the state to provide BITDD services


  PROCEDURES

         As part of the provider audit process, APS Auditor/Trainer staff will review
         documentation in the consumer medical record of services provided/documented by a
         provider against the DEHDD Provider Manual, Medicaid Manual, and evidenced based
         best practices. Additionally, Ad Hoc audits may include contact with families or
         collaborating agencies, This audit will be unannounced, or with no more than three (3)
         days notice to the provider, when requested by the DBHDD.

     2, APS Auditor/Trainer staff may verbally review audit findings with the provider in their
        Exit Interview, The Auditor will note all inconsistencies and unjustified billing.
        Additionally, APS staff may make recommendations for improved practices, This
        information may be documented in an Exit Interview form signed by the APS Auditor

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                                                                                                                                                       Alliance for
                                                                                                                                                       Change through
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                                                      Atlanta Geurgia. 30301-3159

                                                       November 3, 2016

                                                       Ref; DIG j50UU

                                                       h13. Lee,

                                                       Per your phone call on Nosember 2, 2016, Ian:submitting the Extended Repayment Plan Request for Alliance for
                                                       Change through Treatment integre-di, Al this time Alliance for Clump through Treanneed is-requesting the
                                                       PXTENDED PA MENT PLAN in order to repay the amount of 342434.3/ fur a period of 12 months.

                                                       Per your communication %Min }our memo dated. DC11 Policy Number 2003.1, Section 3 named Procedures:
                                                       PtelititTS serAistrn obtain tor extended repaymentschedule Mail flat connatere the.Pruntder lintaest for Extended
                                                       Remmens Sen auk- form :wettable on rhnDCH wbCkedfriw
                                                       addrers indicated an Ovine                       _ANN                                                     tk


                                                       Axil relates to env-additional outstanding    mt„aPegedly emelt 1 huve contacted Hewlett Peek:et:4 to obtain proof and
                                                       explanation of all rans•anding dollar amounts I spoke with their representative three times and sbe was aoable to
                                                       determine why or how Me amount was 4alarmnstorl Thy HP reptesentatte tad sute, the agency Waprnalind for NCCI
                                                       submission timcframes, hst cbeclual the extended thoeframe, vthich seas provided to ALL prOVidel5 for NCC1
                                                       resubmission, vcrif)ing the agency% submissions A,,ere submitted timely

                                                       Thcte axe socral &cat-PM lea Mike total alleged amount osved. Until clarity iS provided, in reference to the additional
                                                       remaining AMOU3t IP ANY, the ability to dem nttine the amount of each weekly et(plitta partent, Within the 12 month
                                                       simefnune. isnot feasible at this time.

                                                       In closing, your department was previously notified of Alliance for Change through Treatment completing it recent
                                                       Administrative Hearing, involying the zoiroctramattswil payisnek of 322,372.11$. The final outcome arthis hearing,
                                                       involving Ms payback Ontni/In of S22,372.05 has not yet bean determined.

                                                       Please notify within the above time fralne of our wants. It k remmsted ati comytitnlnlrutl be utn.• to ttle fall
                                                       addresser Cassandra6imentaiheaktoworetasom and thew sftdcorn.




                                                       Cassandra de n




                                                       Cc: Dorian Murry-, Anorncy




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